 Case 2:21-cv-02422-CBM-SK Document 33 Filed 10/06/21 Page 1 of 20 Page ID #:125




 1 SANFORD L. MICHELMAN (SBN 179702)
   smichelman@mrllp.com
 2 TIMOTHY J. GORRY (SBN 143797)
   tgorry@mrllp.com
 3 ALEXANDER R. SAFYAN (SBN 277856)
   asafyan@mrllp.com
 4 CAMILLE R. YONA (SBN 329486)
   cyona@mrllp.com
 5 MICHELMAN & ROBINSON, LLP
   10880 Wilshire Boulevard, 19th Floor
 6 Los Angeles, California 90024
   Telephone: (310) 299-5500
 7 Facsimile: (310) 299-5600
 8 Attorneys for Defendant
   CHARLES CHANARATSOPON
 9
10
11                          UNITED STATES DISTRICT COURT
12                         CENTRAL DISTRICT OF CALIFORNIA
13
14 THRASIO, LLC,                              Case No. 2:21-cv-02422-CBM-SK
                                              Related to Case No. 2:21-cv-01337-CBM-
15            Plaintiff,                      SK
16      v.                                    DEFENDANT’S NOTICE OF MOTION
                                              AND MOTION FOR SANCTIONS
17 CHARLES CHANARATSOPON,                     PURSUANT TO FED. R. CIV. P. 11;
                                              MEMORANDUM OF POINTS AND
18            Defendant.                      AUTHORITIES IN SUPPORT
                                              THEREOF
19
                                              Date:      November 9, 2021
20                                            Time:      10:00 a.m.
                                              Courtroom: 8B, 8th Floor
21
                                              [Declarations of Charles Chanaratsopon
22                                            and Sanford L. Michelman and (Proposed)
                                              Order submitted herewith]
23
                                              Complaint Filed: February 12, 2021
24                                            Trial Date: None set
25
26
27
28

               DEFENDANT’S MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. 11
  Case 2:21-cv-02422-CBM-SK Document 33 Filed 10/06/21 Page 2 of 20 Page ID #:126




 1                          NOTICE OF MOTION AND MOTION
 2         TO THE COURT, ALL PARTIES, AND THE PARTIES’ ATTORNEYS OF
 3 RECORD:
 4         PLEASE TAKE NOTICE that on November 9, 2021 at 10:00 a.m., or as soon
 5 thereafter as the matter may be heard, before the Honorable Consuelo B. Marshall, in
 6 Courtroom 8B, 8th Floor, of the United States District Court, Central District of California,
 7 located at 350 W. 1st Street, Los Angeles, California 90012, Defendant Charles
 8 Chanaratsopon (“Chanaratsopon”) will and hereby does move, pursuant to Rule 11 of the
 9 Federal Rules of Civil Procedure, for an order imposing sanctions against Plaintiff Thrasio,
10 LLC (“Thrasio”) and its counsel for filing a complaint against Chanaratsopon that has no
11 factual basis and was filed for an improper purpose.
12         In accordance with the 21-day “safe harbor” requirement of Rule 11, this motion and
13 supporting declarations were served on Thrasio and its counsel at least 21 days prior to being
14 filed. The parties also met and conferred regarding the issues in this motion in writing and
15 telephonically. To that end, this Motion is made following the conference of counsel
16 pursuant to Local Rule 7-3, which took place via written correspondence on March 18 and
17 25, 2021 and then via telephone on March 26, 2021.
18         This Motion is based on this notice of motion and motion, the accompanying
19 memorandum of points and authorities, the declarations of Charles Chanaratsopon and
20 Sanford L. Michelman, all pleadings and papers on file with the Court, and such other
21 matters as the Court may consider at or before the hearing on this Motion.
22
23 Date: October 6, 2021                          MICHELMAN & ROBINSON, LLP
24
                                           By:    /s/ Sanford L. Michelman
25                                                Sanford L. Michelman
                                                  Timothy J. Gorry
26                                                Alexander R. Safyan
                                                  Camille R. Yona
27                                                Attorneys for Defendant
                                                  CHARLES CHANARATSOPON
28
                                              1
                  DEFENDANT’S MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. 11
  Case 2:21-cv-02422-CBM-SK Document 33 Filed 10/06/21 Page 3 of 20 Page ID #:127




 1                                            TABLE OF CONTENTS
 2
 3 I.     INTRODUCTION ....................................................................................................... 1
 4 II.    FACTUAL BACKGROUND AND PROCEDURAL HISTORY.............................. 1
 5        A.       The Complaint’s Allegations ............................................................................ 1
 6        B.       Thrasio Publicly Broadcasts the Very Information It Alleges Is “Secret” ....... 3
 7        C.       Chanaratsopon Sends a Comprehensive Courtesy Rule 11 Letter, Which
 8                 Thrasio Disregards ............................................................................................ 8

 9 III.   ARGUMENT ............................................................................................................... 8
10        A.       Thrasio’s Complaint Is Baseless and Was Filed Without a Reasonable and
11                 Competent Inquiry........................................................................................... 10
12        B.       Thrasio’s Complaint Was Filed for an Improper Purpose .............................. 13
          C.       The 21-Day “Safe Harbor” Requirement Has Been Met ................................ 14
13
14 IV.    CONCLUSION.......................................................................................................... 15
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                 i
                    DEFENDANT’S MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. 11
   Case 2:21-cv-02422-CBM-SK Document 33 Filed 10/06/21 Page 4 of 20 Page ID #:128




 1                                            TABLE OF AUTHORITIES1
 2                                                                                                                       Page(s)
 3
     Federal Cases
 4
     Accresa Health LLC v. Hint Health Inc.,
 5      2020 WL 3637801 (E.D. Tex. July 6, 2020) ...................................................................10
 6
     Christian v. Mattel, Inc.,
 7     286 F.3d 1118 (9th Cir. 2002) ...........................................................................1, 9, 10, 13
 8 Cooter & Geill v. Hartmax Corp.,
 9   496 U.S. 384 (1990)...........................................................................................................9
10 Holgate v. Baldwin,
11   425 F.3d 671 (9th Cir. 2005) .....................................................................................10, 13

12 MWK Recruiting, Inc. v. Jowers,
      2019 WL 7761445 (W.D. Tex. July 29, 2019) ..........................................................11, 12
13
14 Phazr, Inc. v. Ramakrishna,
      2020 WL 5526554 (N.D. Tex. Sept. 14, 2020) ...............................................................12
15
   Tewari De-Ox Sys., Inc. v. Mountain States/Rosen, L.L.C.,
16
      637 F.3d 604 (5th Cir. 2011) ...........................................................................................12
17
   Townsend v. Holman Consulting Corp.,
18    929 F.2d 1358 (9th Cir. 1990) .....................................................................................9, 13
19
   Truesdell v. S. Cal. Permanente Med. Grp.,
20    293 F.3d 1146 (9th Cir. 2002) .........................................................................................14
21 Veronica Foods Co. v. Ecklin,
22    2017 WL 2806706 (N.D. Cal. June 29, 2017) .................................................................12

23 Zaldivar v. City of Los Angeles,
      780 F.2d 823 (9th Cir. 1986) .............................................................................................9
24
25 Other State Cases
26 Thrasio, LLC v. Boosted Commerce Inc.,
      Case No. 2:21-cv-01337-CBM-SK ...................................................................................8
27
28   1
         All emphases in this brief are added and internal citations omitted unless stated otherwise.
                                                    ii
                        DEFENDANT’S MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. 11
   Case 2:21-cv-02422-CBM-SK Document 33 Filed 10/06/21 Page 5 of 20 Page ID #:129




 1 Federal Statutes
 2 18 U.S.C.
      § 1839(3) ..........................................................................................................................10
 3    § 1839(5) ....................................................................................................................10, 12
 4
   DTSA ........................................................................................................................10, 11, 12
 5
   federal Defend Trade Secrets Act .........................................................................................10
 6
 7 Other State Statutes
 8 Tex. Civ. Prac. & Rem. Code
      §§ 134A.002(3) ................................................................................................................12
 9    §§ 134A.002(3), (6) .........................................................................................................10
10
   Other Authorities
11
   Federal Rules of Civil Procedure
12
      Rule 5 ...............................................................................................................................14
13    Rule 11 ...........................................................................................................................1, 8
      Rule 11(b)(1)..........................................................................................................9, 13, 15
14
      Rule 11(b)(3)..........................................................................................................9, 13, 15
15    Rule 11(c)(2) ....................................................................................................................14
      Rule 11(c).....................................................................................................................1, 15
16
      Rule 12(b)(6)......................................................................................................................3
17
18
19
20
21
22
23
24
25
26
27
28
                                                      iii
                          DEFENDANT’S MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. 11
  Case 2:21-cv-02422-CBM-SK Document 33 Filed 10/06/21 Page 6 of 20 Page ID #:130




 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2         Defendant Charles Chanaratsopon (“Chanaratsopon”) brings this motion for
 3 sanctions pursuant to Rule 11 of the Federal Rules of Civil Procedure against Plaintiff
 4 Thrasio, LLC (“Thrasio”) and its counsel.
 5 I.      INTRODUCTION
 6         “Filing a complaint in federal court is no trifling undertaking.” Christian v. Mattel,
 7 Inc., 286 F.3d 1118, 1127 (9th Cir. 2002). “An attorney’s signature on a complaint is
 8 tantamount to a warranty that the complaint is well grounded in fact and existing law … and
 9 that it is not filed for an improper purpose.” Id. Thrasio and its counsel violated this core
10 principle, embodied in Rule 11, by filing a complaint against Chanaratsopon that is factually
11 baseless, that was filed without a reasonable and competent inquiry (which would have
12 revealed that it is factually baseless), and that was filed for an improper purpose—namely
13 to harm Chanaratsopon and the company he co-founded that competes with Thrasio,
14 Boosted Ecommerce, Inc. (“Boosted”). Chanaratsopon gave Thrasio multiple opportunities
15 to withdraw its frivolous lawsuit, including by sending an initial courtesy letter to its counsel
16 and giving Thrasio an opportunity to respond prior to serving this motion in accordance
17 with Rule 11’s “safe harbor” requirement. Thrasio refused to withdraw or otherwise modify
18 its complaint. Accordingly, for the reasons discussed below, Chanaratsopon requests that
19 the Court sanction Thrasio and its counsel pursuant to Rule 11(c) and order Thrasio to pay
20 Chanaratsopon’s attorneys’ fees and costs incurred in having to bring this motion.2
21 II.     FACTUAL BACKGROUND AND PROCEDURAL HISTORY
22         A.     The Complaint’s Allegations
23         Thrasio is in the business of buying third-party sellers’ companies on Amazon.com
24 and consolidating them under Thrasio’s umbrella. (Compl. ¶ 2.) Thrasio revamps the third-
25 party sellers’ listings and then sells their products itself on Amazon’s e-commerce platform.
26 (Id.) This business strategy is referred to in the investing world as a “roll-up” strategy (i.e.,
27   2
     The exact amount of Chanaratsopon’s attorneys’ fees and costs will be detailed in a
28 supporting declaration from his counsel, Sanford L. Michelman, submitted with
   Chanaratsopon’s reply on this motion.
                                               1
                   DEFENDANT’S MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. 11
  Case 2:21-cv-02422-CBM-SK Document 33 Filed 10/06/21 Page 7 of 20 Page ID #:131




 1 Thrasio, and companies like it, “roll up” smaller companies and consolidate them to create
 2 economies of scale). (See Declaration of Charles Chanaratsopon (“Chanaratsopon Decl.) ¶
 3 3.) The Amazon roll-up market is a booming, billion-dollar industry, with dozens of venture
 4 capital-backed companies (like Thrasio and Boosted) vying to purchase the best third-party
 5 sellers on Amazon. (See id., Exs. A (11/18/2020 Forbes article) & C (3/2/2021 Crunchbase
 6 article).)
 7         Thrasio asserts that its “success derives from two proprietary business processes”: a
 8 “Standard Diligence Process” and a “Standard Integration Process.” (Compl. ¶¶ 2-4.) The
 9 so-called “Standard Diligence Process” is Thrasio’s process “to determine whether to
10 acquire a Third-Party Seller” and “is based on the use of template forms, checklists, and
11 document requests, as well as a proprietary ‘keyword’ analysis of how the target’s products
12 rank against other products in Amazon search results.” (Id. ¶¶ 3, 28-29.) The so-called
13 “Standard Integration Process” is Thrasio’s process “for the efficient integration and on-
14 boarding of newly acquired Third-Party Sellers,” which “allows each new business to be
15 upgraded to adopt Thrasio’s gold standard processes, including for supply chain, marketing,
16 search keyword optimization, and trademark protection.” (Id. ¶¶ 4, 30-31.)
17         Thrasio alleges that it keeps documents containing its “proprietary and confidential
18 information,” including the Standard Diligence Process and Standard Integration Process,
19 in a dataroom that is hosted by a venture capital firm called Upper90 and that is intended to
20 be accessed by investors of Thrasio. (Compl. ¶¶ 8-9, 42-44, 49-51.)
21         Thrasio acknowledges the growing competition in the Amazon roll-up market and
22 Thrasio’s need to “race against other sophisticated competitors to acquire promising Third-
23 Party Sellers” in order “to maintain its place in the market.” (Id. ¶¶ 6, 25.) Indeed, Thrasio’s
24 co-founder has publicly stated that Thrasio’s “overriding concern” is preserving its market
25 position as “an absolutely dominant player in this space.” (Chanaratsopon Decl., Ex. B
26 (2/10/2021 Financial Times article).) To preserve its market position, Thrasio here has
27 illicitly targeted a rising competitor, Chanaratsopon’s Boosted, which recently raised $87
28 million in investments from a combination of prominent investment firms and individuals.
                                              2
                  DEFENDANT’S MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. 11
  Case 2:21-cv-02422-CBM-SK Document 33 Filed 10/06/21 Page 8 of 20 Page ID #:132




 1 (Id. ¶ 5.)
 2         The only connection between Thrasio and Boosted that forms the basis for Thrasio’s
 3 complaint is that Chanaratsopon was an indirect investor in Thrasio who—legally, properly,
 4 and with consent—accessed Thrasio’s confidential information around the time he co-
 5 founded Boosted. Thrasio readily admits that, as a potential and actual investor in Thrasio,
 6 Chanaratsopon had proper access to Thrasio’s “dataroom” that housed its “confidential”
 7 documents. (Compl. ¶¶ 50-53.) Thrasio acknowledges that Chanaratsopon accessed/
 8 downloaded those documents around the times of his three separate investments in Thrasio
 9 in March 2019, September 2019, and June 2020. (Id. ¶¶ 57, 65.) Thrasio then makes the
10 absurd leap that simply because Chanaratsopon accessed Thrasio’s “dataroom” in the
11 months surrounding the incorporation of Boosted (in December 2019), Chanaratsopon and
12 Boosted must have misappropriated Thrasio’s confidential information. (See id. ¶¶ 65-71.)
13 Tellingly, Thrasio does not allege a single use of its information by Chanaratsopon or
14 Boosted. Thrasio’s complaint points solely to a statement on Boosted’s website in January
15 2020 stating that Boosted can complete an acquisition within 45 days, which Thrasio says
16 was “almost identical” to its timeframe of 43 days, as “evidence” of the alleged
17 misappropriation. (See id. ¶ 68.) That is farcical for multiple reasons, not the least of which
18 is that Thrasio has publicly advertised its acquisition timeframe on its website and in
19 multiple interviews (in fact, over forty similar companies advertise similar closing times on
20 their websites). Thrasio then makes the completely conclusory allegation that “there can be
21 no doubt that Chanaratsopon and Boosted have misappropriated Thrasio’s Standard
22 Diligence Process and the Standard Integration Process” because “Chanaratsopon would not
23 have been able to launch Boosted’s business in the time that he did without stealing
24 [Thrasio’s] confidential, proprietary business processes.” (Id. ¶ 72.) This cursory and
25 superficial pleading clearly is insufficient to withstand a Rule 12(b)(6) motion; more
26 importantly, it is grounds for Rule 11 sanctions.
27         B.    Thrasio Publicly Broadcasts the Very Information It Alleges Is “Secret”
28         Thrasio has openly, repeatedly, and publicly broadcast the very information it alleges
                                              3
                  DEFENDANT’S MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. 11
  Case 2:21-cv-02422-CBM-SK Document 33 Filed 10/06/21 Page 9 of 20 Page ID #:133




 1 in its Complaint that it endeavors to keep secret. Thrasio’s executives also have, on
 2 numerous occasions, admitted that the information is not unique or proprietary. Thrasio’s
 3 co-founders and Chief Executives Carlos Cashman and Joshua Silberstein, Vice President
 4 of Acquisitions Ken Kubec, and Vice President of Amazon SEO Casey Gauss have all made
 5 numerous public statements in interviews that have been watched and/or listened to
 6 thousands of times that directly disprove any notion that Thrasio has kept its business
 7 methods and processes secret. In fact, these individuals seemingly cannot stop publicly
 8 boasting about the very information Thrasio here alleges Chanaratsopon and Boosted
 9 “misappropriated.” These individuals have openly discussed, inter alia, what Thrasio looks
10 for in potential acquisition targets; how Thrasio values these businesses to determine the
11 monetary offer it will make; what Thrasio’s diligence process entails; how Thrasio
12 completes its acquisitions in 30-45 days; what Thrasio does to improve its acquisitions’
13 products and listings; and even how prospective competitors can create their own “mini-
14 Thrasio” and roll up third-party Amazon sellers just like Thrasio. The following are just a
15 few of the many examples of Thrasio publicly broadcasting its alleged “trade secrets”:
16
   Quiet Light Academy interview with Carlos Cashman (co-CEO), July 25, 2019
17 https://www.youtube.com/watch?v=S4Rb3ti0djo&feature=youtu.be
18        Mr. Cashman explains that Thrasio identifies potential acquisition targets by looking
19         for products on Amazon that have a “top ranking,” “great ratings,” and “a good
           number of reviews”
20
          Mr. Cashman discloses that “what matters [most] is the listing and its position relative
21         to its competitors in the key word space” when determining whether a seller is worth
           targeting
22
23 FeedbackWhiz    interview with Ken Kubec (VP of Acquisitions), July 18, 2019
   https://www.youtube.com/watch?v=pxjY1wXUlp0&t=223s
24
       Mr. Kubec discusses Thrasio’s acquisition process for U.S.-based businesses by
25        explaining that Thrasio’s deals are structured as “asset purchases,” with Thrasio
26        buying “everything associated with that asset,” including the “trademark,” the
          Amazon “seller central account,”3 “websites, etc.”
27
     3
28     Amazon seller central is the interface merchants use to market and sell their products
     directly to consumers through Amazon. Amazon sellers use seller central to list their
                                               4
                   DEFENDANT’S MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. 11
 Case 2:21-cv-02422-CBM-SK Document 33 Filed 10/06/21 Page 10 of 20 Page ID #:134




 1      Mr. Kubec advises that Thrasio’s “median multiple” in valuing an acquisition target
 2       is “around 2.2 times” revenue and that Thrasio “align[s] with owners and give[s]
         additional compensation on top of that multiple” in the form of an “earn out
 3
         component … which might bring the total transaction value to 3 times or 3-and-a-
 4       half times trailing 12 months”
 5      In response to a question asking him to describe the process of consummating a deal
 6       once a third-party seller accepts Thrasio’s purchase offer, Mr. Kubec states:
             o “the first step” is “both parties sign what’s called a letter of intent or an LOI”
 7              …
 8           o “once the LOI is signed,” Thrasio’s “diligence team … kick into high gear and
                work one-on-one with the sellers or the seller/broker on just gaining access to
 9              seller central … reconciling financial statements … looking at supplier
10              contracts … verifying trademarks … all of the things that if you were buying
                a business you’d want to check the boxes” …
11           o “that process … take[s] 30 days” and “at the end of that 30 days … we
12              formalize a legal binding contract which is the asset purchase agreement” …
             o “the way to think about it is signed letter of intent, 30 days later whatever the
13              purchase price is, the agreed upon upfront guaranteed cash portion gets paid
14              out once the APA is signed … and then there’s another … 20 or 30 day
                migration period” where “we take on the seller central account, we start to
15              migrate the inventory” and “start ordering new inventory”
16
   Orange Klik interview with Ken Kubec, August 30, 2019
17 https://www.youtube.com/watch?v=VDRxN-ieh5w
18      Mr. Kubec discloses that Thrasio “look[s] for businesses doing anywhere from 1 to
19       15 million in revenue on a trailing 12 month basis” and particularly “businesses that
         are doing 2 million a year in revenue on one SKU”
20
        Mr. Kubec states that Thrasio “look[s] across all products categories,” is “not focused
21
         on vertical categories,” and “look[s] for stable demand products” that are “ranked in
22       the top five, top ten organically for a majority of the search term volume,” has “strong
         product ratings in terms of the product star system,” and has a “defensible review
23
         count”; these targets are what Thrasio calls “beachfront real estate”
24
        Mr. Kubec expands on Thrasio’s valuation metric, stating that its “historical average
25       has been 2.25 times” the “trailing 12 months of … seller’s discretionary earnings”
26       and it “also structure[s] earn outs” for the seller of “another 1 to 1.5 times … so the
27
   products, manage their inventory, set their pricing, communicate with buyers, review their
28 account health, and maintain all other essential information about their business. See
   https://sell.amazon.com/sell.html?ref_=sdus_soa_start_n.
                                             5
                 DEFENDANT’S MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. 11
 Case 2:21-cv-02422-CBM-SK Document 33 Filed 10/06/21 Page 11 of 20 Page ID #:135




 1        total purchase price [is] 3 times, 3-and-a-half-times”

 2 Tom  Wang interview with Ken Kubec, May 25, 2020
   https://www.youtube.com/watch?v=QAvaZo1G1Ag
 3
       Mr. Kubec reaffirms that “the deals are typically structured as an asset purchase”
 4        where Thrasio buys “all the assets that are required to run the business so that would
 5        be your trademarks, your amp, your seller central account, all your social media
          accounts … anything that is required to run the business”; this is “what allows
 6        [Thrasio] to move so quickly through diligence is we don’t assume any prior
 7        liabilities, we’re just buying the assets we’re not buying the whole company”

 8      In response to a question asking whether Thrasio has a rule for “margin ranges” and
         “percentage of ad spend” in its acquisition targets, Mr. Kubec states that “most
 9
         businesses we’ve looked at rung at anywhere from 18 to 25 percent net margins” and
10       “in terms of ad spend percentage of revenue that range is … 7 to 10 percent”; “if
         you’re just doing straight COGS … anywhere from 20 to 30 percent of revenue”
11
12 This Week in Startups interview with Joshua Silberstein (co-CEO), August 11, 2020
   https://www.youtube.com/watch?v=xN86AwK5qiI
13
       Mr. Silberstein explains that Thrasio’s “integration process” involves giving the
14        products “a facelift, making them more attractive to the consumer … taking into
15        account what the consumer has said in the past in the reviews and upgrading the
          products,” and “often … cutting the prices because we’re able to source them less
16        expensively”
17 Aaron Watson interview with Casey Gauss (VP of Amazon SEO), November 8, 2020
   https://www.youtube.com/watch?v=q5hyFoyxT1s
18
19     Mr. Gauss explains that for Thrasio’s potential acquisition targets, the main
          components of Amazon SEO (search engine optimization) are “visibility and
20        conversion”; the “product title has to be very specific” with “keywords in the
21        beginning of the title” (visibility), and if people search for a product and go to a
          seller’s page, they must actually buy the product (conversion)
22
                                                ***
23
24        These are just some of the public disclosures Thrasio’s executives have made. In
25 addition, these same executives have made a number of public admissions that nothing
26 Thrasio does is unique or proprietary and that its business relies on publicly available data
27 from Amazon. The following are a few examples:
28
                                              6
                  DEFENDANT’S MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. 11
 Case 2:21-cv-02422-CBM-SK Document 33 Filed 10/06/21 Page 12 of 20 Page ID #:136



     Quiet Light Academy interview with Carlos Cashman (co-CEO)
 1
 2      Mr. Cashman states that “in terms of … do we have a particular twist on the market
         no I don’t think we do ….”
 3
        Mr. Cashman references that what makes the Amazon e-commerce platform
 4
         particularly attractive for Thrasio is that “60%, 56% of searches [for] products are
 5       just start[ing] on Amazon” and “among millennials and below … 76% product
         searches are starting on Amazon”
 6
 7 This Week in Startups interview with Joshua Silberstein (co-CEO)
 8      In response to a question asking when Thrasio analyzes a company to buy whether it
         is “hitting an Amazon API [application programming interface]” or “looking at the
 9       public-facing data that we can all see,” Mr. Silberstein responds, “yeah, yeah
10       absolutely”
11      When the interviewer concludes the question by asking, “is there any information
12       that you can’t get on the public facing site that they [third parties] could even use,”
         Mr. Silberstein responds, “not really”
13
   FeedbackWhiz interview, Orange Klik interview, and Tom Wang interview with Ken Kubec
14 (VP of Acquisitions)
15      In two separate interviews nearly a year apart (FeedbackWhiz and Tom Wang), Mr.
16       Kubec states—almost verbatim—that “the beauty of Amazon is you have a
         canonical source of data which is seller central” that gives Thrasio the ability to
17       “move quickly through … diligence”; “it’s the same systems over and over again
18       that we’re diligencing the financials on … seller central”
19      In the FeedbackWhiz interview, Mr. Kubec comments that Thrasio’s diligence
20       process is “all of the things that … if you were buying a business you’d want to check
         the boxes”
21
        In the Orange Klik interview, Mr. Kubec proclaims that “there’s no formulaic
22
         approach we take, it’s really on an individual basis”
23
        In the Tom Wang interview, when asked about Thrasio’s business, Mr. Kubec
24       answers, “it’s pretty simple … there’s over 30,000 brands doing over a million a year
25       in revenue on Amazon, that’s kind of our target market and … we acquire them, we
         stabilize them over a migration period, … [do] checks and balances once we take
26       over the brand and then we seek [ ] avenues of growth”
27
     Aaron Watson interview with Casey Gauss (VP of Amazon SEO)
28
                                             7
                 DEFENDANT’S MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. 11
 Case 2:21-cv-02422-CBM-SK Document 33 Filed 10/06/21 Page 13 of 20 Page ID #:137




 1        Mr. Gauss admits that Thrasio’s business model “is not an original idea” and that
           “now with Thrasio blowing up, there’s way more competitors”
 2
 3                                                ***

 4          Thus,    at   bottom,   Thrasio     has   sued   Chanaratsopon   and   Boosted   for
 5 “misappropriating” supposed “trade secrets” that Thrasio has both publicly broadcasted and
 6 admitted are not unique or proprietary.
 7          C.      Chanaratsopon Sends a Comprehensive Courtesy Rule 11 Letter, Which
 8                  Thrasio Disregards
 9          On February 12, 2021, Thrasio filed virtually identical lawsuits against
10 Chanaratsopon in Texas and Boosted in California. (Declaration of Sanford L. Michelman
11 (“Michelman Decl.”) Exs. A & B.) The Texas action was subsequently transferred to this
12 judicial district and deemed related to the California Action (see Thrasio, LLC v. Boosted
13 Commerce Inc., Case No. 2:21-cv-01337-CBM-SK). (Id. ¶ 3.)
14          On March 18, 2021, the undersigned counsel sent a comprehensive courtesy letter to
15 Thrasio’s counsel informing them of the issues with Thrasio’s complaint(s) and inviting
16 them to meet and confer in advance of a Rule 11 motion. (See Michelman Decl., Ex. C
17 (3/18/2021 letter).)      Thrasio’s counsel refused to withdraw or otherwise modify the
18 complaint(s) in response to this letter. (Id. ¶ 5.) Chanaratsopon then served this motion in
19 accordance with Rule 11’s 21-day “safe harbor” requirement (Boosted has served a similar
20 motion in the other action). (Id.) Chanaratsopon will file this motion only after the 21-day
21 period has expired and if Thrasio again refuses to withdraw its baseless and improper
22 complaint.4 (Id. ¶ 6.)
23 III.     ARGUMENT
24          Rule 11 states, in relevant part:
25                  By presenting to the court a pleading, written motion, or other
                    paper—whether by signing, filing, submitting, or later advocating
26
     4
27  Though it is not legally relevant because (as shown below) Thrasio’s complaint is factually
   baseless, Chanaratsopon and Boosted of course deny the allegations in Thrasio’s complaint
28 that they engaged in any wrongdoing by using any of Thrasio’s purported “trade secrets”
   for any improper purpose. (Chanaratsopon Decl. ¶ 7.)
                                                8
                    DEFENDANT’S MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. 11
 Case 2:21-cv-02422-CBM-SK Document 33 Filed 10/06/21 Page 14 of 20 Page ID #:138




 1               it—an attorney … certifies that to the best of the [attorney’s]
                 knowledge, information, and belief, formed after an inquiry
 2               reasonable under the circumstances:
 3                      (1) it is not being presented for any improper purpose, such
                 as to harass, cause unnecessary delay, or needlessly increase the
 4               cost of litigation; [and]
 5                      (3) the factual contentions have evidentiary support or, if
                 specifically so identified, will likely have evidentiary support after
 6               a reasonable opportunity for further investigation or discovery.
 7
 8 Fed. R. Civ. P. 11(b)(1), (3).
 9        “Rule 11 imposes a duty on attorneys to certify that they have conducted a reasonable
10 inquiry and have determined that any papers filed with the court are well grounded in fact,
11 legally tenable, and not interposed for any improper purpose.” Cooter & Geill v. Hartmax
12 Corp., 496 U.S. 384, 393 (1990). Critically, “[t]he attorney has a duty prior to filing a
13 complaint not only to conduct a reasonable factual investigation, but also to perform
14 adequate legal research that confirms whether the theoretical underpinnings of the complaint
15 are warranted by existing law or a good faith argument for an extension, modification or
16 reversal of existing law.” Christian, 286 F.3d at 1127.
17        Ninth Circuit precedent establishes that sanctions must be imposed if the paper at
18 issue is frivolous or if it is filed for an improper purpose. Townsend v. Holman Consulting
19 Corp., 929 F.2d 1358, 1362 (9th Cir. 1990). A paper is “frivolous” if it is “both baseless
20 and made without a reasonable and competent inquiry.” Id. An “improper purpose” does
21 not require bad faith; like frivolousness, it is judged by an objective standard. Zaldivar v.
22 City of Los Angeles, 780 F.2d 823, 830-31 (9th Cir. 1986). While “[e]ither the improper
23 purpose or frivolousness ground is sufficient to sustain a sanction,” when a complaint is at
24 issue “a determination of improper purpose must be supported by a determination of
25 frivolousness.” Townsend, 929 F.2d at 1362. And as to frivolousness, when “the complaint
26 is the primary focus of Rule 11 proceedings, a district court must conduct a two-prong
27 inquiry to determine (1) whether the complaint is legally or factually baseless from an
28 objective perspective, and (2) if the attorney has conducted a reasonable and competent
                                              9
                  DEFENDANT’S MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. 11
 Case 2:21-cv-02422-CBM-SK Document 33 Filed 10/06/21 Page 15 of 20 Page ID #:139




 1 inquiry before signing and filing it.” Christian, 286 F.3d at 1127; Holgate v. Baldwin, 425
 2 F.3d 671, 676 (9th Cir. 2005).
 3         A.    Thrasio’s Complaint Is Baseless and Was Filed Without a Reasonable and
 4               Competent Inquiry
 5         Thrasio’s primary claims are for trade secret misappropriation under the federal
 6 Defend Trade Secrets Act (“DTSA”) and the Texas Uniform Trade Secrets Act (“TUTSA”)
 7 by Chanaratsopon. Both the DTSA and TUTSA require a plaintiff to establish (1) the
 8 existence of a trade secret, and (2) misappropriation of that secret. See Accresa Health LLC
 9 v. Hint Health Inc., 2020 WL 3637801, at *5-6 (E.D. Tex. July 6, 2020). The DTSA defines
10 a “trade secret” as “financial, business, scientific, technical, economic, or engineering
11 information” where: (A) the owner “has taken reasonable measures to keep such information
12 secret”; and (B) “the information derives independent economic value, actual or potential,
13 from not being generally known to, and not being readily ascertainable through proper
14 means by, another person who can obtain economic value from the disclosure or use of the
15 information.” 18 U.S.C. § 1839(3). The DTSA defines “misappropriation” as, inter alia:
16 (A) the “acquisition of a trade secret of another by a person who knows or has reason to
17 know that the trade secret was acquired by improper means”; or (B) “disclosure or use of a
18 trade secret of another without express or implied consent by a person who … at the time of
19 disclosure or use, knew or had reason to know that the knowledge of the trade secret was (I)
20 derived from or through a person who had used improper means to acquire the trade secret;
21 (II) acquired under circumstances giving rise to a duty to maintain the secrecy of the trade
22 secret or limit the use of the trade secret; or (III) derived from or through a person who owed
23 a duty to the person seeking relief to maintain the secrecy of the trade secret or limit the use
24 of the trade secret.” 18 U.S.C. § 1839(5).
25         The TUTSA’s definitions of “trade secret” and “misappropriation” are substantially
26 identical to the definitions of those terms in the DTSA. See Tex. Civ. Prac. & Rem. Code
27 §§ 134A.002(3), (6); Accresa Health, 2020 WL 3637801, at *5-6. Given the substantial
28 similarities in claims under the DTSA and TUTSA, courts often analyze them together. See,
                                              10
                  DEFENDANT’S MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. 11
 Case 2:21-cv-02422-CBM-SK Document 33 Filed 10/06/21 Page 16 of 20 Page ID #:140




 1 e.g., MWK Recruiting, Inc. v. Jowers, 2019 WL 7761445, at *11 (W.D. Tex. July 29, 2019).
 2        At its core, the first element of a trade secret misappropriation claim is that the alleged
 3 trade secret information is, in fact, secret. Both the DTSA and TUTSA require a plaintiff to
 4 demonstrate that the information is not “generally known” and that the owner has reasonably
 5 attempted to maintain its secrecy. Thrasio objectively cannot do either here. Thrasio’s
 6 alleged “trade secrets” are lumped into two generic categories: (1) its “Standard Diligence
 7 Process”; and (2) its “Standard Integration Process.” Nothing in either of these categories
 8 is a secret. Literally every company that acquires a third-party business conducts diligence
 9 on the business and then integrates the business using its own “gold standard.” That is the
10 process for every company that performs “roll-ups,” including Thrasio, Boosted, and all of
11 their competitors. Thrasio’s own executive Ken Kubec recognizes this fact, as he has
12 publicly admitted that Thrasio’s diligence process is “all of the things that … if you were
13 buying a business you’d want to check the boxes.”
14        There are numerous articles on the internet that describe how to perform a “roll-up”
15 with step-by-step guides that universally discuss a diligence process and an integration
16 process.5 Even more pointedly, there are articles on the internet published by the major
17 brokers who specifically help companies—including Thrasio—acquire third-party Amazon
18 businesses that offer step-by-step guides to acquire such businesses.6 Thus, any entity that
19 wants to compete with Thrasio in the Amazon roll-up market can read one of these guides—
20 which tell the entire world what Thrasio’s “Standard Diligence Process” and “Standard
21 Integration Process” entails—and compete with Thrasio.               There is simply nothing
22 confidential or proprietary about a diligence process or integration process that businesses
23
     5
24   See, e.g., https://www.entrepreneur.com/article/283678 (“A Secret Tactic for Quick
   Growth: The Roll-up”); https://www.forbes.com/sites/georgedeeb/2018/10/02/how-to-roll-
25 up-several-companies-into-one/?sh=2586bff17466 (“How To Roll-Up Several Companies
   Into One”); https://medium.com/the-innovation/roll-up-strategy-how-to-create-value-
26 b7fe70efd9a0 (“Roll-Up Strategy: How To Create Value”).
     6
27     See, e.g., https://empireflippers.com/buy-amazon-fba-business-step-by-step-guide/
   (“Buying     an      Amazon      FBA     Business:    A    Step-by-Step      Guide”);
28 https://amzadvisers.com/due-diligence-when-buying-an-amazon-fba-business/ (“How To
   Do Due Diligence When Buying An Amazon FBA Business”).
                                              11
                  DEFENDANT’S MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. 11
 Case 2:21-cv-02422-CBM-SK Document 33 Filed 10/06/21 Page 17 of 20 Page ID #:141




 1 use every day and that anyone can look up on the internet at any time for free.
 2         Equally fatal to Thrasio’s trade secret misappropriation claims is the fact that Thrasio
 3 has been openly, repeatedly, and publicly disclosing its processes for over a year-and-a-half.
 4 Public disclosure is fatal to the existence of a trade secret and is reason alone for a court to
 5 dismiss a trade secret misappropriation claim outright. See, e.g., Tewari De-Ox Sys., Inc. v.
 6 Mountain States/Rosen, L.L.C., 637 F.3d 604, 610-11 (5th Cir. 2011) (citing Luccous v. J.C.
 7 Kinley Co., 376 S.W.2d 336, 338 (Tex. 1964)) (“It is self-evident that the subject matter of
 8 a trade secret must be secret.”); Veronica Foods Co. v. Ecklin, 2017 WL 2806706, at *14
 9 (N.D. Cal. June 29, 2017) (citing Ultimax Cement Mfg. Corp. v. CTS Cement Mfg. Corp.,
10 587 F.3d 1339, 1355 (Fed. Cir. 2009)) (“Once the information is in the public domain and
11 the element of secrecy is gone, the trade secret is extinguished ….”). Thrasio cannot
12 publicly broadcast its alleged “trade secrets” and at the same time sue one of its competitors
13 for using those “trade secrets.” To state the obvious, the “trade secrets” (which are not
14 secrets in the first place, as discussed above) are not secrets if anyone can find them online.
15 A simple YouTube search—which Chanaratsopon’s counsel performed—reveals the
16 multiple wide-ranging interviews cited above, in which Thrasio’s executives voluntarily and
17 enthusiastically broadcast Thrasio’s “secrets” to thousands of people—including acquisition
18 targets, investors, and competitors—in order to affirmatively publicize and market Thrasio’s
19 business. Thrasio’s counsel could have, and should have, performed the same simple online
20 search, which would have revealed the public nature of Thrasio’s alleged trade secret
21 information. By failing to do so, Thrasio’s counsel did not do a reasonable and competent
22 inquiry as required of them under Rule 11.
23         The second element of a trade secret misappropriation claim under the DTSA and
24 TUTSA is “misappropriation.” See 18 U.S.C. § 1839(5); Tex. Civ. Prac. & Rem. Code §§
25 134A.002(3); MWK Recruiting, 2019 WL 7761445, at *13. Here, too, Thrasio objectively
26 does not, and cannot, make the necessary showing. Thrasio utterly fails to demonstrate “how
27 or when the defendant[] actually used [Thrasio’s] trade secrets.”          See Phazr, Inc. v.
28 Ramakrishna, 2020 WL 5526554, at *4-5 (N.D. Tex. Sept. 14, 2020)
                                              12
                  DEFENDANT’S MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. 11
 Case 2:21-cv-02422-CBM-SK Document 33 Filed 10/06/21 Page 18 of 20 Page ID #:142




 1         Again, Thrasio admits that, as an investor in Thrasio, Chanaratsopon had legal and
 2 proper access to Thrasio’s “dataroom” that housed its “confidential” documents. (Compl.
 3 ¶¶ 50-53.)       Thrasio acknowledges that Chanaratsopon accessed/downloaded those
 4 documents around the times of his three separate investments in Thrasio in March 2019,
 5 September 2019, and June 2020. (Id. ¶¶ 57, 65.) Thrasio then makes the absurd leap that
 6 simply because Chanaratsopon accessed Thrasio’s “dataroom” in the months surrounding
 7 the incorporation of Boosted (in December 2019), Chanaratsopon and Boosted must have
 8 misappropriated Thrasio’s confidential information. (See id. ¶¶ 65-71.) There are no facts
 9 demonstrating that Chanaratsopon or Boosted acquired Thrasio’s confidential information
10 by improper means (because they did not).             There are no facts demonstrating that
11 Chanaratsopon or Boosted disclosed any of Thrasio’s confidential information (because they
12 did not). There are no facts demonstrating that Chanaratsopon or Boosted improperly used
13 any of Thrasio’s confidential information (because they did not). Thus, not only is Thrasio
14 objectively unable to assert a factual basis that any of its “trade secrets” are secret, but it is
15 unable to assert a factual basis that Chanaratsopon or Boosted did anything with its
16 information that can be considered “misappropriation.” Thrasio is unable to assert this
17 factual basis because no such basis exists. Thrasio’s complaint is therefore frivolous
18 because it is both factually baseless and was filed without a reasonable and competent
19 inquiry. See Christian, 286 F.3d at 1127; Holgate, 425 F.3d at 676.
20         B.     Thrasio’s Complaint Was Filed for an Improper Purpose
21         As mentioned, it is sufficient to warrant an award of sanctions if a paper filed with
22 the court is frivolous—which Thrasio’s complaint is. See Townsend, 929 F.2d at 1362; Fed.
23 R. Civ. P. 11(b)(3). However, sanctions are also warranted here for the independent reason
24 that Thrasio’s complaint was also filed for an improper purpose. See Townsend, 929 F.2d
25 at 1362; Fed. R. Civ. P. 11(b)(1). Thrasio’s lawsuit is a transparent attempt to maintain its
26 “first-mover” advantage over a rising competitor in Boosted. (See Chanaratsopon Decl., Ex.
27 B (2/10/2021 Financial Times article).)             Thrasio’s executives have all publicly
28 acknowledged that competition in the Amazon roll-up market is increasing and Thrasio is
                                               13
                   DEFENDANT’S MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. 11
 Case 2:21-cv-02422-CBM-SK Document 33 Filed 10/06/21 Page 19 of 20 Page ID #:143




 1 extremely concerned with preserving its market position.              (See supra, § II.B.)
 2 Chanaratsopon has been an investor in Thrasio since early 2019—and he still retains those
 3 investments to this day. (Chanaratsopon Decl. ¶ 4.) In other words, Chanaratsopon did not
 4 get out of his investments when he decided to create a competing business. Boosted was
 5 incorporated in December 2019—more than a year before Thrasio filed its lawsuits against
 6 Chanaratsopon and Boosted. (Id.) Not coincidentally, Thrasio’s lawsuits came shortly after
 7 it was publicly announced that Boosted had raised $87 million in investments from a
 8 combination of prominent investment firms and individuals.             (Id. ¶ 5.)    Viewing
 9 Chanaratsopon and Boosted as a well-financed threat, and based on the tenuous link of
10 Chanaratsopon being an investor in Thrasio, Thrasio decided to file public lawsuits against
11 both Chanaratsopon and Boosted and send letters attaching the complaints to Boosted’s
12 investors. (See id. ¶ 6.) This was plainly done to harm Boosted’s standing among its current
13 (and future) investors and potential acquisition targets who will face competing offers from
14 Thrasio and Boosted. Thrasio could have reached out directly to Chanaratsopon (its
15 investor) and raised any legitimate concerns it had with Boosted’s alleged use of its “trade
16 secrets.” Instead, Thrasio decided to take a “shoot first, ask questions later” approach and
17 publicly sue Chanaratsopon and Boosted. The above facts objectively show that Thrasio’s
18 complaint was filed for an improper purpose, further justifying sanctions under Rule 11.
19         C.    The 21-Day “Safe Harbor” Requirement Has Been Met
20         Rule 11 requires a 21-day “safe harbor” period before a motion for sanctions can be
21 filed. See Fed. R. Civ. P. 11(c)(2) (“The motion must be served under Rule 5, but it must
22 not be filed or be presented to the court if the challenged paper … is withdrawn or
23 appropriately corrected within 21 days after service or within another time the court sets.”).
24 The purpose of the “safe harbor” period is “to give litigants an opportunity to remedy any
25 alleged misconduct before sanctions are imposed.” Truesdell v. S. Cal. Permanente Med.
26 Grp., 293 F.3d 1146, 1151 (9th Cir. 2002). Chanaratsopon’s counsel did more than comply
27 with the minimum “safe harbor” requirement.            As indicated above, it first sent a
28 comprehensive courtesy letter to Thrasio’s counsel informing them of the issues with the
                                              14
                  DEFENDANT’S MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. 11
 Case 2:21-cv-02422-CBM-SK Document 33 Filed 10/06/21 Page 20 of 20 Page ID #:144




 1 complaint(s) and inviting them to meet and confer in advance of a Rule 11 motion. (See
 2 Michelman Decl., Ex. C (3/18/2021 letter).) Chanaratsopon’s counsel then served this
 3 motion on Thrasio’s counsel with a second letter on Friday, April 2, 2021. (Id. ¶ 5.) In
 4 accordance with Rule 11, this motion will be filed no earlier than Monday, April 26, 2021
 5 and only if Thrasio’s complaint is not withdrawn in that period. (Id. ¶ 6.) As a result, the
 6 21-day “safe harbor” requirement has been satisfied.
 7 IV.    CONCLUSION
 8        For all the reasons stated above, Thrasio’s complaint qualifies under Rule 11(b)(1)
 9 and (b)(3) for the imposition of sanctions pursuant to Rule 11(c). The Court should issue
10 sanctions against Thrasio and its counsel and order them to pay Chanaratsopon’s attorneys’
11 fees and costs incurred in having to bring this motion-which Chanaratsopon attempted to
12 avoid through multiple communications to no avail.
13
14 Date: October 6, 2021                        MICHELMAN & ROBINSON, LLP
15
                                          By:   /s/ Sanford L. Michelman
16                                              Sanford L. Michelman
17                                              Timothy J. Gorry
                                                Alexander R. Safyan
18                                              Camille R. Yona
                                                Attorneys for Defendant
19                                              CHARLES CHANARATSOPON
20
21
22
23
24
25
26
27
28
                                             15
                 DEFENDANT’S MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. 11
